                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.543 Page 1 of 14



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                          875 T H I R D A V E N U E




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                                                                                  18
                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                  19
                                                                                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                                                  20

                                                                                  21
                                                                                       STRATEGIC OPERATIONS, INC., a                 Case No. 17-CV-01539-JLS (WVG)
                                                                                  22   California Corporation,
                                                                                                                                     STIPULATED PROTECTIVE ORDER
                                                                                  23                    Plaintiff,

                                                                                  24          v.

                                                                                  25   BREA K. JOSEPH, an Individual;
                                                                                       KASEY EROKHIN, an Individual;
                                                                                  26   KBZ FX, INC., a California Corporation;
                                                                                       and DOES 1-10, inclusive,
                                                                                  27
                                                                                                        Defendants.
                                                                                  28

                                                                                                                                               CASE NO. 17-CV-01539-JLS (WVG)
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.544 Page 2 of 14



                                                                                   1          The Court recognizes that at least some of the documents and information being sought

                                                                                   2   through discovery in the above-captioned action are, for competitive reasons, normally kept

                                                                                   3   confidential by the parties. Plaintiff Strategic Operations, Inc. (“Plaintiff”) and Defendants Brea

                                                                                   4   K. Joseph, Kasey Erokhin, and KBZ FX, Inc. (collectively, “Defendants”) have agreed to be

                                                                                   5   bound by the terms of this Protective Order (“Order”) in this action.

                                                                                   6          The materials to be exchanged throughout the course of the litigation between the parties

                                                                                   7   may contain trade secret or other confidential research, technical, cost, price, marketing or other

                                                                                   8   commercial information, as is contemplated by Federal Rule of Civil Procedure 26(c)(1)(G). The

                                                                                   9   purpose of this Order is to protect the confidentiality of such materials as much as practical

                                                                                  10   during the litigation. THEREFORE:

                                                                                  11                                            DEFINITIONS
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                                                                                  12          1.      The term “Confidential Information” will mean and include information contained
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                          875 T H I R D A V E N U E




                                                                                  13   or disclosed in any materials, including documents, portions of documents, answers to

                                                                                  14   interrogatories, responses to requests for admissions, trial testimony, deposition testimony, and

                                                                                  15   transcripts of trial testimony and depositions, including abstracts, data, summaries, and

                                                                                  16   compilations derived therefrom that is deemed to be Confidential Information by any party to

                                                                                  17   which it belongs. Confidential Information shall relate, among other things, to confidential

                                                                                  18   technical, business, sales, marketing, financial or other commercially sensitive information.

                                                                                  19          2.      The term “materials” will include, but is not limited to: documents;

                                                                                  20   correspondence; memoranda; bulletins; blueprints; specifications; technical materials; patent

                                                                                  21   applications; patents; patent file histories; product lists; product guides; user manuals; product

                                                                                  22   manuals; operation manuals; customer lists or other material that identify customers or potential

                                                                                  23   customers; price lists or schedules or other matter identifying pricing; minutes; telegrams; letters;

                                                                                  24   statements; cancelled checks; contracts; invoices; drafts; books of account; worksheets; notes of

                                                                                  25   conversations; desk diaries; appointment books; expense accounts; recordings; photographs;

                                                                                  26   motion pictures; compilations from which information can be obtained and translated into

                                                                                  27   reasonably usable form through detection devices; sketches; drawings; notes (including

                                                                                  28

                                                                                                                                       -2-            CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                    STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.545 Page 3 of 14



                                                                                   1   laboratory notebooks and records); reports; instructions; disclosures; other writings; models and

                                                                                   2   prototypes and other physical objects.

                                                                                   3          3.      The term “counsel” will mean outside counsel of record, and other attorneys,

                                                                                   4   paralegals, secretaries, and other support staff employed in the law firms identified below:

                                                                                   5   Troutman Sanders LLP for Plaintiff and San Diego IP Law Group for Defendants.

                                                                                   6          4.      The term “outside vendors” will mean vendors retained by a party or counsel,

                                                                                   7   including messenger, copy, coding, and other clerical services, including document processing

                                                                                   8   and conversion, archiving and database services, electronic document processing firms and

                                                                                   9   personnel, translators or interpreters, and related vendors not employed by the party or counsel.

                                                                                  10                                            GENERAL RULES

                                                                                  11          5.      Each party to this litigation that produces or discloses any materials, answers to
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                                                                                  12   interrogatories, responses to requests for admission, trial testimony, deposition testimony, and
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                  13   transcripts of trial testimony and depositions, or information that the producing party believes

                                                                                  14   should be subject to this Order may designate the same as “CONFIDENTIAL” or

                                                                                  15   “CONFIDENTIAL - FOR COUNSEL ONLY.”

                                                                                  16                  a.     Designation as “CONFIDENTIAL”: Any party may designate information

                                                                                  17                         as “CONFIDENTIAL” only if, in the good faith belief of such party and its

                                                                                  18                         counsel, the unrestricted disclosure of such information could be

                                                                                  19                         potentially prejudicial to the business or operations of such party.

                                                                                  20                  b.     Designation as “CONFIDENTIAL - FOR COUNSEL ONLY”: Any party

                                                                                  21                         may designate information as “CONFIDENTIAL - FOR COUNSEL

                                                                                  22                         ONLY” only if, in the good faith belief of such party and its counsel, the

                                                                                  23                         information is among that considered to be most sensitive by the party,

                                                                                  24                         including but not limited to trade secret or other confidential information or

                                                                                  25                         research, pending trademark or patent applications, research and

                                                                                  26                         development or other highly-sensitive technical information, or highly-

                                                                                  27                         sensitive business-related, financial or other commercial information.

                                                                                  28

                                                                                                                                      -3-            CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                    STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.546 Page 4 of 14



                                                                                   1          6.      Designation of materials as “CONFIDENTIAL” or “CONFIDENTIAL - FOR

                                                                                   2   COUNSEL ONLY” shall be made by marking each page of the materials containing the

                                                                                   3   Confidential Information (except deposition and hearing transcripts). For deposition and hearing

                                                                                   4   transcripts, the designation may be marked on the cover page of the document.

                                                                                   5          7.      All materials that cannot be produced in documentary, tangible, or physical form,

                                                                                   6   shall be designated by the producing party by informing the receiving party of the designation in

                                                                                   7   writing at or before the time the materials are provided to the receiving party.

                                                                                   8          8.      In the event the producing party elects to produce materials for inspection,

                                                                                   9   including, but not limited to the accused products, no marking need be made by the producing

                                                                                  10   party in advance of the initial inspection. For purposes of the initial inspection, all materials

                                                                                  11   produced will be considered as “CONFIDENTIAL - FOR COUNSEL ONLY,” and must be
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                                                                                  12   treated as such pursuant to the terms of this Order. Thereafter, upon selection of specified
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                          875 T H I R D A V E N U E




                                                                                  13   materials for copying by the inspecting party, the producing party must, within a reasonable time

                                                                                  14   prior to producing those materials to the inspecting party, mark the copies of those materials that

                                                                                  15   contain Confidential Information with the appropriate confidentiality marking.

                                                                                  16          9.      Whenever a deposition taken on behalf of any party involves a disclosure of

                                                                                  17   Confidential Information of any party:

                                                                                  18                  a.      the deposition or portions of the deposition must be designated as

                                                                                  19                          containing Confidential Information subject to the provisions of this Order;

                                                                                  20                          such designation must be made on the record whenever possible, but a

                                                                                  21                          party may designate a deposition or portions of depositions as containing

                                                                                  22                          Confidential Information after transcription of the proceedings; a party will

                                                                                  23                          have until fourteen (14) days after receipt of the final deposition transcript

                                                                                  24                          to inform the other party or parties to the action of the portions of the

                                                                                  25                          transcript to be designated “CONFIDENTIAL” or “CONFIDENTIAL -

                                                                                  26                          FOR COUNSEL ONLY” or whether such designation applies to the entire

                                                                                  27                          transcript;

                                                                                  28

                                                                                                                                       -4-            CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                     STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.547 Page 5 of 14



                                                                                   1                  b.      the disclosing party will have the right to exclude from attendance at the

                                                                                   2                          deposition, during such time as the Confidential Information is to be

                                                                                   3                          disclosed, any person other than the deponent, counsel (including their staff

                                                                                   4                          and associates), the court reporter, and the person(s) agreed upon pursuant

                                                                                   5                          to Paragraph 11 below; and

                                                                                   6                  c.      the originals of the deposition transcripts and all copies of the deposition

                                                                                   7                          must bear the legend “CONFIDENTIAL” or “CONFIDENTIAL - FOR

                                                                                   8                          COUNSEL ONLY” as appropriate, and the original or any copy ultimately

                                                                                   9                          presented to a court for filing must not be filed unless it can be

                                                                                  10                          accomplished under seal, identified as being subject to this Order, and

                                                                                  11                          protected from being opened except by order of this Court.
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                                                                                  12          10.     All    Confidential    Information     designated    as   “CONFIDENTIAL”          or
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                  13   “CONFIDENTIAL - FOR COUNSEL ONLY” must not be disclosed by the receiving party to

                                                                                  14   anyone other than those persons designated within this order and must be handled in the manner

                                                                                  15   set forth below and, in any event, must not be used for any purpose other than in connection with

                                                                                  16   this litigation or other litigation involving any of the patents-in-suit in which a protective order

                                                                                  17   with similar protections has been entered, unless and until such designation is removed either by

                                                                                  18   agreement of the parties, or by order of the Court.

                                                                                  19          11.     Information designated “CONFIDENTIAL - FOR COUNSEL ONLY” may only

                                                                                  20   be viewed only by counsel (as defined in Paragraph 3) of the receiving party, outside vendors (as

                                                                                  21   defined in Paragraph 4) who have executed a copy of the form attached hereto in Exhibit A, and

                                                                                  22   by independent experts or consultants under the conditions set forth in this Paragraph. An

                                                                                  23   independent expert or consultant may not be a current officer, director, or employee of a party,

                                                                                  24   nor anticipated at the time of retention to become an officer, director, or employee of a party. The

                                                                                  25   right of any independent expert or consultant to receive any Confidential Information will be

                                                                                  26   subject to the advance approval of such expert or consultant by the producing party or by

                                                                                  27   permission of the Court. The party seeking approval of an independent expert or consultant must

                                                                                  28   provide the producing party with the following information for each independent expert or

                                                                                                                                       -5-           CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                    STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.548 Page 6 of 14



                                                                                   1   consultant in advance of providing any Confidential Information of the producing party to the

                                                                                   2   expert: (i) name; (ii) address; (iii) current curriculum vitae; (iv) current employer; (v)

                                                                                   3   employment history for the past five years; (vi) a listing of cases in which the expert or consultant

                                                                                   4   has testified as an expert at trial or by deposition within the preceding five years; (vii)

                                                                                   5   identification of any patents or patent applications in which the expert or consultant is identified

                                                                                   6   as an inventor or applicant, is involved in prosecuting or maintaining, or has any pecuniary

                                                                                   7   interest1; and (viii) an executed copy of the form attached hereto as Exhibit A. Any objection by

                                                                                   8   the producing party to an independent expert receiving Confidential Information must be made in

                                                                                   9   writing within fourteen (14) days following receipt of the identification of the proposed expert or

                                                                                  10   consultant. Confidential Information may be disclosed to an independent expert or consultant if

                                                                                  11   the fourteen (14) day period has passed and no objection has been made. The approval of an
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                                                                                  12   independent expert or consultant must not be unreasonably withheld.
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                  13          12.     Information designated “CONFIDENTIAL” may only be viewed by counsel (as

                                                                                  14   defined in Paragraph 3) of the receiving party, outside vendors (as defined in Paragraph 4) who

                                                                                  15   have executed a copy of the form attached hereto in Exhibit A, independent experts or consultants

                                                                                  16   (pursuant to the terms of Paragraph 11), any by the additional individuals listed below, provided

                                                                                  17   each such individual has read this Order in advance of disclosure and has agreed in writing to be

                                                                                  18   bound by its terms:

                                                                                  19                  a)      Up to two officers, directors, or executives who are required to participate

                                                                                  20                          in policy decisions with reference to this action;

                                                                                  21                  b)      Technical personnel of the parties with whom counsel for the parties find it

                                                                                  22                          necessary to consult, in the discretion of such counsel, in preparation for

                                                                                  23                          trial of this action; and

                                                                                  24                  c)      Stenographic and clerical employees associated with the individuals

                                                                                  25                          identified above.

                                                                                  26   1
                                                                                         To the extent an independent expert or consultant believes that any of this information is subject
                                                                                  27   to a confidentiality obligation to a third party, that independent expert or consultant shall provide
                                                                                       whatever information can be disclosed without violating any confidentiality agreements and take
                                                                                  28   reasonable steps to seek permission to disclose the remaining information.

                                                                                                                                          -6-         CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                     STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.549 Page 7 of 14



                                                                                   1           13.     With respect to material designated “CONFIDENTIAL” or “CONFIDENTIAL –

                                                                                   2   FOR COUNSEL ONLY,” any person indicated on the face of the document to be its originator,

                                                                                   3   author, or a recipient of a copy of the document, may be shown the same.

                                                                                   4           14.     All information which has been designated as “CONFIDENTIAL” or

                                                                                   5   “CONFIDENTIAL - FOR COUNSEL ONLY” by the producing or disclosing party, and any and

                                                                                   6   all reproductions of that information, must be retained in the custody of the counsel for the

                                                                                   7   receiving party identified in Paragraph 3, except that independent experts or consultants

                                                                                   8   authorized to view such information under the terms of this Order may retain custody of copies

                                                                                   9   such as are necessary for their participation in this litigation.

                                                                                  10           15.     If a party files with the Court for any purpose any materials produced in discovery,

                                                                                  11   answers to interrogatories, responses to requests for admissions, deposition transcripts, or other
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                                                                                  12   documents which are designated as Confidential Information, the party seeking to file such
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                  13   material contemporaneously must seek permission of the Court to file the material under seal.

                                                                                  14           16.     No document shall be filed under seal unless counsel secures a court order

                                                                                  15   allowing the filing of a document under seal. An application to file a document under seal shall be

                                                                                  16   served on opposing counsel, and on the person or entity that has custody and control of the

                                                                                  17   document, if different from opposing counsel. If opposing counsel, or the person or entity who

                                                                                  18   has custody and control of the document, wishes to oppose the application, he/she must contact

                                                                                  19   the chambers of the judge who will rule on the application, to notify the judge’s staff that an

                                                                                  20   opposition to the application will be filed.

                                                                                  21           17.     At any stage of these proceedings, any party may object to a designation of the

                                                                                  22   materials as Confidential Information. The party objecting to confidentiality must notify, in

                                                                                  23   writing, counsel for the designating party of the objected-to materials and the grounds for the

                                                                                  24   objection. If the dispute is not resolved consensually between the parties within seven (7) days of

                                                                                  25   receipt of such a notice of objections, the objecting party may move the Court for a ruling on the

                                                                                  26   objection. The materials at issue must be treated as Confidential Information, as designated by the

                                                                                  27   designating party, until the Court has ruled on the objection or the matter has been otherwise

                                                                                  28   resolved.

                                                                                                                                         -7-               CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                      STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.550 Page 8 of 14



                                                                                   1          18.     No person receiving Confidential Information under this Order shall, directly or

                                                                                   2   indirectly, use, transfer, disclose, or communicate in any way the documents or their contents to

                                                                                   3   any person other than those specified in this Order. Any other use is prohibited except by consent

                                                                                   4   of the producing party or by order of the Court. Prohibited purposes include, but are not limited

                                                                                   5   to, use for competition purposes or the prosecution of additional intellectual property rights.

                                                                                   6          19.     Counsel for each party, and each person receiving Confidential Information must

                                                                                   7   take reasonable precautions to prevent the unauthorized or inadvertent disclosure of such

                                                                                   8   information. If Confidential Information is disclosed to any person other than a person authorized

                                                                                   9   by this Order, the party responsible for the unauthorized disclosure must immediately bring all

                                                                                  10   pertinent facts relating to the unauthorized disclosure to the attention of the other parties and,

                                                                                  11   without prejudice to any rights and remedies of the other parties, make every effort to prevent
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                                                                                  12   further disclosure by the party and by the person(s) receiving the unauthorized disclosure.
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                  13          20.     Absent the written consent of the producing party, any attorney, patent agent,

                                                                                  14   expert, consultant, paralegal, or clerical support staff for or representing a party to this litigation

                                                                                  15   who accesses Confidential Information shall not prosecute patent applications relating to the

                                                                                  16   subject matter disclosed in the patents-in-suit, including without limitation the drafting,

                                                                                  17   amending, or supervision of the drafting or amending of patent claims, relating to such subject

                                                                                  18   matter before any foreign or domestic agency, including the United States Patent and Trademark

                                                                                  19   Office, to the extent that such patent applications would cover methods, apparatuses, or systems

                                                                                  20   disclosed in Confidential Information, and not otherwise publicly available, actually disclosed to

                                                                                  21   such individual.

                                                                                  22          21.     This prohibition on patent prosecution shall begin upon the effective date of this

                                                                                  23   order and shall end one (1) year after conclusion of the litigation.

                                                                                  24          22.     Nothing herein shall prevent or be construed as preventing any attorney, patent

                                                                                  25   agent, expert, consultant, paralegal, or clerical support staff for or representing Plaintiff who

                                                                                  26   access Confidential Information, from (i) defending the validity of existing claims of the patents-

                                                                                  27   in-suit or any related patent in any district court action, or appeal arising therefrom, or (ii)

                                                                                  28   assisting in a reexamination or inter partes review proceeding challenging the validity of any

                                                                                                                                        -8-            CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                     STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.551 Page 9 of 14



                                                                                   1   claims of the patents-in-suit or any related patent, provided that such assistance does not involve

                                                                                   2   directly or indirectly drafting, amending, advising, or otherwise affecting the scope or

                                                                                   3   maintenance of patent claims.

                                                                                   4          23.       Nothing herein shall prevent or be construed as preventing any attorney, patent

                                                                                   5   agent, expert, consultant, paralegal, or clerical support staff for or representing Defendants who

                                                                                   6   access Confidential Information, from (i) challenging the validity of existing claims of the

                                                                                   7   patents-in-suit or any related patent in any district court action, or appeal arising therefrom, or (ii)

                                                                                   8   assisting in a reexamination or inter partes review proceeding challenging the validity of any

                                                                                   9   claims of the patents-in-suit or any related patent.

                                                                                  10          24.     No party will be responsible to another party for disclosure of Confidential

                                                                                  11   Information under this Order if the information in question is not labeled or otherwise identified
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                                                                                  12   as such in accordance with this Order.
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                  13          25.      If a party, through inadvertence, produces any Confidential Information without

                                                                                  14   labeling or marking or otherwise designating it as such in accordance with this Order, the

                                                                                  15   designating party may give written notice to the receiving party that the materials produced are

                                                                                  16   deemed Confidential Information, and that the materials produced should be treated as such in

                                                                                  17   accordance with that designation under this Order. The receiving party must treat these identified

                                                                                  18   materials as confidential with the appropriate designation upon receipt of notification from the

                                                                                  19   designating party. If the receiving party has disclosed the materials before receiving the

                                                                                  20   designation, the receiving party must notify the designating party in writing of each such

                                                                                  21   disclosure. Counsel for the parties will agree on a mutually acceptable manner of labeling or

                                                                                  22   marking the inadvertently produced materials as “CONFIDENTIAL” or “CONFIDENTIAL -

                                                                                  23   FOR COUNSEL ONLY.”

                                                                                  24          26.     At this time, the parties do not anticipate the need for or disclosure of computer

                                                                                  25   source code. In the event source code is requested, produced, or generated in disclosures or

                                                                                  26   responses to discovery in this matter, the parties shall negotiate in good faith the terms of a

                                                                                  27   Supplemental Protective Order governing the production of source code. In the event the parties

                                                                                  28   are unable to reach agreement on the terms of a Supplemental Protective Order, any party may

                                                                                                                                        -9-             CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                     STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.552 Page 10 of 14



                                                                                    1   move for entry of a proposed supplemental protective order. The producing party shall not be

                                                                                    2   required to produce any source code until the Court has entered a Supplemental Protective Order.

                                                                                    3          27.        Nothing within this order will prejudice the right of any party to object to the

                                                                                    4   production of any discovery material on the grounds that the material is protected as privileged or

                                                                                    5   as attorney work product.

                                                                                    6          28.        The parties hereto acknowledge that, while each party will endeavor to identify

                                                                                    7   and withhold from production any document which that party believes is privileged, given the

                                                                                    8   volume and nature of material being exchanged, there is a possibility that certain privileged

                                                                                    9   material may be produced inadvertently. The parties agree that a party who produced any

                                                                                   10   privileged document without intending to waive the claim of privilege associated with such

                                                                                   11   document may, within ten (10) days after the producing party actually discovers that such
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                                                                                   12   inadvertent production occurred, notify the other party that such document was inadvertently
                                                      N E W Y O R K , NY 10022
                          875 T H I R D A V E N U E




                                                                                   13   produced and should have been withheld as privileged. Once the producing party provides such

                                                                                   14   notice to the requesting party, the requesting party must promptly return the specified document

                                                                                   15   and any copies thereof. By complying with this obligation, the requesting party does not waive

                                                                                   16   any right it has to challenge the assertion of privilege and request an order of the court denying

                                                                                   17   such privilege.

                                                                                   18          29.        Except as provided in Paragraphs 20-23, nothing in this Order will bar counsel

                                                                                   19   from rendering advice to their clients with respect to this litigation and, in the course thereof,

                                                                                   20   relying upon any information designated as Confidential Information, provided that the contents

                                                                                   21   of the information must not be disclosed.

                                                                                   22          30.        This Order will be without prejudice to the right of any party to oppose production

                                                                                   23   of any information for lack of relevance or any other ground other than the mere presence of

                                                                                   24   Confidential Information. The existence of this Order must not be used by either party as a basis

                                                                                   25   for discovery that is otherwise improper under the Federal Rules of Civil Procedure.

                                                                                   26          31.        Nothing within this order will be construed to prevent disclosure of Confidential

                                                                                   27   Information if such disclosure is required by law or by order of the Court.

                                                                                   28

                                                                                                                                         - 10 -         CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                        STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.553 Page 11 of 14



                                                                                    1          32.     A nonparty producing information or material voluntarily or pursuant to a

                                                                                    2   subpoena or a court order may designate such material or information as Confidential Information

                                                                                    3   pursuant to the terms of this Order.

                                                                                    4          33.     Upon final termination of this action, including any and all appeals, counsel for

                                                                                    5   each party must, upon request of the producing party, return all Confidential Information to the

                                                                                    6   party that produced the information, including any copies, excerpts, and summaries of that

                                                                                    7   information, or must destroy same at the option of the receiving party, and must purge all such

                                                                                    8   information from all machine-readable media on which it resides. Notwithstanding the foregoing,

                                                                                    9   counsel for each party may retain all pleadings, briefs, memoranda, motions, and other documents

                                                                                   10   filed with the Court that refer to or incorporate Confidential Information, and will continue to be

                                                                                   11   bound by this Order with respect to all such retained information. Counsel for each party may
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                                                                                   12   also retain Confidential Information relevant to other litigation involving any of the patents-in-
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                                                                                   13   suit in which a protective order with similar protections has been entered, and will continue to be

                                                                                   14   bound by this Order with respect to all such retained information. Further, attorney work product

                                                                                   15   materials that contain Confidential Information need not be destroyed, but, if they are not

                                                                                   16   destroyed, the person in possession of the attorney work product will continue to be bound by this

                                                                                   17   Order with respect to all such retained information.

                                                                                   18          34.     The restrictions and obligations set forth within this order will not apply to any

                                                                                   19   information that: (a)    the parties agree, or the Court rules, should not be designated as

                                                                                   20   Confidential Information; (b) the parties agree, or the Court rules, is already public knowledge;

                                                                                   21   (c) the parties agree, or the Court rules, has become public knowledge other than as a result of

                                                                                   22   disclosure by the receiving party, its employees, or its agents in violation of this Order; or (d) has

                                                                                   23   come or will come into the receiving party's legitimate knowledge independently of the

                                                                                   24   production by the designating party. Prior knowledge must be established by pre-production

                                                                                   25   documentation.

                                                                                   26          35.     The restrictions and obligations within this Order will not be deemed to prohibit

                                                                                   27   discussions of any Confidential Information with anyone if that person already has or obtains

                                                                                   28   legitimate possession of that information.

                                                                                                                                        - 11 -         CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                      STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.554 Page 12 of 14



                                                                                    1          36.     Transmission by email is acceptable for all notification purposes within this Order.

                                                                                    2          37.     This Order may be modified by agreement of the parties, subject to approval by

                                                                                    3   the Court.

                                                                                    4          38.      The Court may modify the terms and conditions of this Order for good cause, or

                                                                                    5   in the interest of justice, or on its own order at any time in these proceedings. The parties prefer

                                                                                    6   that the Court provide them with notice of the Court’s intent to modify the Order and the content

                                                                                    7   of those modifications, prior to entry of such an order.

                                                                                    8   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                                                                    9
                                                                                         Dated: September 9, 2019                           TROUTMAN SANDERS LLP
                                                                                   10

                                                                                   11                                                       By: /s/ Charanjit Brahma
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                                                                                                                                              Charanjit Brahma
                                                                                   12
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                          875 T H I R D A V E N U E




                                                                                                                                                Attorneys for Plaintiff
                                                                                   13                                                           STRATEGIC OPERATIONS, INC.
                                                                                   14
                                                                                         Dated: September 9, 2019                           SAN DIEGO IP LAW GROUP
                                                                                   15

                                                                                   16                                                       By: /s/ Charles A. Blazer
                                                                                   17                                                         Charles A. Blazer
                                                                                                                                                Attorneys for Defendants
                                                                                   18                                                           KBZ FX, INC., BREA JOSEPH, KASEY
                                                                                                                                                EROKHIN
                                                                                   19

                                                                                   20

                                                                                   21          IT IS SO ORDERED this _______ day of __________, 2019
                                                                                   22

                                                                                   23                                 ______________________________________________
                                                                                                                                      Judge, United States District Court
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                                                                                                                                       - 12 -         CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                      STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.555 Page 13 of 14



                                                                                    1                                               EXHIBIT A

                                                                                    2
                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                    3
                                                                                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                                    4

                                                                                    5
                                                                                        STRATEGIC OPERATIONS, INC., a                      Case No. 17-CV-01539-JLS (WVG)
                                                                                    6   California Corporation,
                                                                                                                                           AGREEMENT TO BE BOUND BY
                                                                                    7                       Plaintiff,                     PROTECTIVE ORDER

                                                                                    8          v.

                                                                                    9   BREA K. JOSEPH, an Individual;
                                                                                        KASEY EROKHIN, an Individual;
                                                                                   10   KBZ FX, INC., a California Corporation;
                                                                                        and DOES 1-10, inclusive,
                                                                                   11
                                                                                                            Defendants.
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                                                                                   13
                                                                                        I, _________________________________________, declare and say that:
                                                                                   14
                                                                                               1.      I am employed as _________________________________________
                                                                                   15
                                                                                        by _______________________________________________________________.
                                                                                   16
                                                                                               2.      I have read the Protective Order entered in Strategic Operations, Inc.
                                                                                   17
                                                                                        v. Brea K. Joseph, et al., Case No. 17-CV-01539-JLS (WVG), and I have received a copy of the
                                                                                   18
                                                                                        Protective Order.
                                                                                   19
                                                                                               3.      I promise that I will use any and all “Confidential” or “Confidential – For Counsel
                                                                                   20
                                                                                        Only” information, as defined in the Protective Order, given to me only in the manner authorized
                                                                                   21
                                                                                        by the Protective Order, and only to assist counsel in the litigation of this matter.
                                                                                   22
                                                                                               4.      I promise that I will not disclose or discuss such “Confidential” or “Confidential –
                                                                                   23
                                                                                        For Counsel Only” information with anyone other than the persons described in Paragraphs 3, 4,
                                                                                   24
                                                                                        11, and 12 of the Protective Order.
                                                                                   25
                                                                                               5.      I acknowledge that, by signing this agreement, I am subjecting myself to the
                                                                                   26
                                                                                        jurisdiction of the United States District Court for the Southern District of California with respect
                                                                                   27
                                                                                        to enforcement of the Protective Order.
                                                                                   28

                                                                                                                                        - 13 -          CASE NO. 17-CV-01539-JLS (WVG)
                                                                                                                         STIPULATED PROTECTIVE ORDER
                                                                                 Case 3:17-cv-01539-JLS-WVG Document 50 Filed 09/09/19 PageID.556 Page 14 of 14



                                                                                    1          6.      I understand that any disclosure or use of “Confidential” or “Confidential – For

                                                                                    2   Counsel Only” information in any manner contrary to the provisions of the Protective Order may

                                                                                    3   subject me to sanctions for contempt of court.

                                                                                    4          I declare under penalty of perjury under the laws of the United States of America that the

                                                                                    5   foregoing is true and correct.

                                                                                    6          Executed this ______ day of ______________, _________ at

                                                                                    7          __________________, ______________.

                                                                                    8

                                                                                    9                                                             Signed:_____________________________

                                                                                   10                                                      Name / Title:_____________________________

                                                                                   11
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                                                                                                                         STIPULATED PROTECTIVE ORDER
